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                                                                     FILED: October 28, 2024

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                            No. 24-2044 (L)
                                         (5:24-cv-00547-M-RJ)
                                         ___________________

        REPUBLICAN NATIONAL COMMITTEE; NORTH CAROLINA
        REPUBLICAN PARTY

                       Plaintiffs - Appellees

        v.

        NORTH CAROLINA STATE BOARD OF ELECTIONS; KAREN BRINSON
        BELL, in her official capacity as Executive Director of the North Carolina State
        Board of Elections; ALAN HIRSCH, in his official capacity as Chair of the North
        Carolina State Board of Elections; JEFF CARMON, in his official capacity as
        Secretary of the North Carolina State Board of Elections; STACY EGGERS, IV,
        in their official capacities as Members of the North Carolina State Board of
        Elections; KEVIN N. LEWIS, in their official capacities as Members of the North
        Carolina State Board of Elections; SIOBHAN O'DUFFY MILLEN, in their
        official capacities as Members of the North Carolina State Board of Elections

                       Defendants - Appellants

         and

        DEMOCRATIC NATIONAL COMMITTEE

                       Intervenor/Defendant

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        JACKSON SAILOR JONES; BERTHA LEVERETTE; NORTH CAROLINA
        STATE CONFERENCE OF THE NAACP

                       Amici Supporting Appellant



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                                          ORDER
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              Upon consideration, the Court extends the existing administrative stay

        through 12:00 p.m. on October 29, 2024.



                                             For the Court

                                             /s/ Nwamaka Anowi, Clerk




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